                               UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NORTH CAROLINA
                                      SOUTHERN DIVISION
                                 . Criminal No. 7:20-CR-150-2D
                                      Civil No. 7:22-CV-94-D



CHRISTOPHER NEIL MCLEAN,                    )
                                            )
                        Petitioner,         )
                                            )
      V.                                    )                      ORDER
                                            )
UNITED STATES OF AMERICA,                   )
                                            )
                        Respondent.         )




        Having examined petitioner's motion pursuant to Rule 4(b) of the Rules Governing§ 2255

Proceedings, the United States Attorney is DIRECTED to file an Answer pursuant.to Rule 5, Rules

Governing § 2255 Proceedings, or to make such other response as appropriate to the above-

captioned § 2255 Motion to Vacate, Set Aside or Correct Sentence, within forty (40) days of the

filing of this order.

        SO ORDERED. This~ day of July, 2022.




                                             UNITED STATES DISTRICT ruDGE




           Case 7:20-cr-00150-D Document 79 Filed 07/08/22 Page 1 of 1
